                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN DOE,                                          )
                                                   )
     Plaintiff,                                    )
                                                   )
v.                                                 )        NO. 3:18-cv-00569
                                                   )
VANDERBILT UNIVERSITY, et al.,                     )        JUDGE CAMPBELL
                                                   )        MAGISTRATE JUDGE FRENSLEY
     Defendants.                                   )

                                              ORDER

         Pending before the Court is Defendants’ Motion to Dismiss. (Doc. No. 39). Plaintiff filed

a Response in Opposition (Doc. No. 42), and Defendants filed a Reply. (Doc. No. 43). For the

reasons set forth in the accompanying Memorandum, Defendants’ Motion to Dismiss is

GRANTED.

         This Order shall constitute the final judgment in this case pursuant to Fed. R. Civ. P. 58.

         It is so ORDERED.

                                                           ________________________________
                                                           WILLIAM L. CAMPBELL, JR.
                                                           UNITED STATES DISTRICT JUDGE




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